               Case 24-11354-JKS                 Doc 24        Filed 12/05/24           Page 1 of 1


UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      24-11354

      Diamondhead Casino Corporation




      Case Type :                       bk
      Case Number :                     24-11354
      Case Title :                      Diamondhead Casino Corporation
      Judge :                           J K. Stickles
      Courtroom :                       5th Floor Courtroom 4, Wilmington, DE
      Audio Date\Time :                 12/4/2024 10:00:54 AM
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